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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF KENTUCKY


 STATE OF TENNESSEE, et al.,

          Plaintiffs,

 v.
                                                                   No. 2:24-cv-00072
 MIGUEL CARDONA, in his official capacity
 as Secretary of Education, et al.,

          Defendants.


      NOTICE OF FILING RELEVANT PORTIONS OF ADMINISTRATIVE RECORD

          Pursuant to the Court’s Scheduling Order, ECF No. 121, Defendants hereby file relevant

portions of the administrative record, consisting of the portions of the record cited by Plaintiffs

and Plaintiffs-Intervenors in their motions for summary judgment and those likely to be cited by

Defendants in their cross-motion. Defendants reserve the right to supplement this filing with

additional portions of the administrative record, should they be cited in any briefs filed after this

notice.

Dated: August 16, 2024                             Respectfully submitted,

                                                   BRIAN M. BOYNTON
                                                   Principal Deputy Assistant Attorney General

                                                   EMILY B. NESTLER
                                                   Assistant Branch Director

                                                   /s/ John T. Lewis
                                                   ELIZABETH TULIS
                                                   REBECCA KOPPLIN
                                                   BENJAMIN TAKEMOTO
                                                   HANNAH SOLOMON-STRAUSS
                                                   PARDIS GHEIBI
                                                   CLAYTON BAILEY
                                                   JOHN T. LEWIS
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                                 ID#: 2901



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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 16, 2024, I electronically filed this document with the

Court by using the CM/ECF system, and that this document was distributed via the Court’s

CM/ECF system.

                                                    /s/ John T. Lewis
                                                    JOHN T. LEWIS




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